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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 NEXPOINT STRATEGIC OPPORTUNITIES FUND,

                             Plaintiff,

                 -against-                            Case No. 21-cv-04384

 ACIS CAPITAL MANAGEMENT, L.P., U.S. BANK,
 N.A., JOSHUA N. TERRY, AND BRIGADE CAPITAL           NOTICE OF APPEARANCE
 MANAGEMENT, L.P.,

                             Defendants,

                 -and-

 HIGHLAND CLO FUNDING LTD.

                             Intervenor-Defendant.



        PLEASE TAKE NOTICE that Intervenor-Defendant Highland CLO Funding Ltd.

(“HCLOF”) hereby appears by its counsel, Pachulski Stang Ziehl & Jones LLP (“PSZJ”). PSZJ

hereby requests that copies of all papers given or required to be given in this case and copies of

all papers served or required to be served, be given and served upon HCLOF through service

upon PSZJ, at the address, telephone number, fax number, and email address set forth below:

                                    John A. Morris, Esq.
                                    PACHULSKI STANG ZIEHL & JONES LLP
                                    780 Third Avenue, 34th Floor
                                    New York, NY 10017
                                    Telephone: (212) 561-7700
                                    Facsimile: (212) 561-7777
                                    Email: jmorris@pszjlaw.com




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Dated: January 26, 2022
                                        PACHULSKI STANG ZIEHL & JONES LLP

                                          /s/ John A. Morris
                                        John A. Morris (NY Bar No. 2405397)
                                        780 Third Avenue, 34th Floor
                                        New York, NY 10017
                                        Telephone: (212) 561-7700
                                        Facsimile: (212) 561-7777
                                        Email: jmorris@pszjlaw.com

                                        Counsel for Intervenor-Defendant Highland CLO
                                        Funding Ltd.




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